 

Case 3:21-cv-05258-BHS Document 28

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The Honorable Benjamin H. Settle

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON
Tacoma Division

QUENTIN M. PARKER and KATHERINE R.
PARKER, husband and wife and the marital
community thereof,

Plaintiffs,
Vv.

THE STATE OF WASHINGTON;
WASHINGTON STATE PATROL; CARLOS
RODRIGUEZ, in his individual and official
capacities; KRISTI POHL, in her individual
and official capacities; DARRELL NOYES, in

| his individual and official capacities; TRAVIS

CALTON, in his individual and official
capacities; MAURICE RINCON, in his
individual and official capacities; WILLIAM
STEEN, in his individual and official
capacities; JAMES TAYLOR, in his individual
and official capacities; CITY OF OLYMPIA, a
municipality; AARON FICEK, in his
individual and official capacities;
OPERATION UNDERGROUND

RAILROAD, INC., a forei gn non-profit
corporation; THURSTON COUNTY, a
municipality and subdivision of the State of
Washington; SHAWN NORLACHER, a
former Thurston County Deputy Prosecutor, in
his individual and official capacities; JOHN
DOE AND JANE JOE 1-10, et al.,

Defendants.

 

 

 

OFFER OF JUDGMENT BY O.U.R.
CASE NO, 3:21-CV-05258-BHS

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OFFER OF JUDGMENT BY
DEFENDANT OPERATION
UNDERGROUND RAILROAD, INC,

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Without in any way admitting liability, and solely in order to avoid further expense and
inconvenience, defendant Operation Underground Railroad, Inc. hereby offers, pursuant to Rule
68 of the Federal Rules of Civil Procedure, that judgment be entered as follows:

Judgment in favor of plaintiffs Quentin M. Parker and Katherine R.
Parker, as well as their marital community, against defendant
Operation Underground Railroad, Inc., in the total sum of $1 00,000,
which includes all court costs and reasonable attorney fees incurred
by Plaintifffs to the date of this offer, Such judgment is of no claim-
preclusive or issue-preclusive effect, and Operation Underground
Railroad, Inc. denies any wrongdoing of any kind.

By accepting this offer and allowing the foregoing judgment to be entered, Plaintiffs
stipulate that they waive the right to sue any current officer, director or employee of Operation
Underground Railroad, Inc. based on any purported act or omission committed in the course and

scope of employment. This stipulation is separate and apart from the foregoing offered judgment.

Dated: May 6, 2021 SNELL & WILMER up.

By: s/ Clifford S. Davidson

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Attorneys for Defendant
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Snell & Wil
OFFER OF JUDGMENT BY O.U.R. - | 2018 186th Avenue, NE. Suite 100

LCV. . Bellevue, Washington 98007
CASE NO, 3:21-CV-05258-BHS ovue, washington

 

 
 

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CERTIFICATE OF SERVICE
I hereby certify that on May 6, 2021, I caused to be served a full and exact copy of the
foregoing OFFER OF JUDGMENT BY DEFENDANT OPERATION UNDERGROUND

RAILROAD, INC. on the following:
Harold Karlsvik Grace O’Connor
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Washington, Washington State Patrol,
Carlos Rodriguez, William Steen, Darrel R.
Noyes, Maurice Rincon, James C. Taylor,
Travis Calton, Kristl Pohl

by the following indicated method(s):

First Class Mail, postage prepaid, deposited in the US mail at Portland, OR
Hand delivery

Facsimile transmission

Overnight delivery

Email, pursuant to the parties’ electronic service agreement

Electronic filing notification

Dated: May 6, 2021 s/ Clifford S. Davidson
Clifford $. Davidson, WSBA 48313

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